Case 2:14-cv-09155-.]AK-AGR Document 1-1 Filed 11/26/14 Page 1 of 20 Page |D #:4

EXHIBIT “A”

{EXHIBITS;|}

Case 2:14-cv-09155-.]AK-AGR Document 1-1 Filed 11/26/14 Pauezr)f 20 PanelD#-'%

 

 

 

 

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SUMMONS ,s¢&°f.%‘i”.;'°“:§.:‘rz:~m
(ClTAClON .IUDfCIAL)
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, GCT 0 7 2014
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NQTiCEl You have been cr.red. The court may decide against you without your being heard unless you respond within 30 days. Read the inlarmadon
below.

You have 30 GALENDAR DAYS after this summons and legal papers are served on you to tile a written response al this court and have a copy
served on the piaintlf|. A letter or phone cell will not protect you. your written response must be ln proper legal form if you want tire court to hearyour
cose. There may be a court form that you can use tor your response You can lind these courtroom and more lniormatlon at the Ca§fomia Couns
Onllne Salf»i-lelp center (www.cour£nfo.oa.gov/scl!hs!p). youroounly law ilbrary. or the courthouse nearest you. ll you cannot pay die illlng ice. ask
the court clerk for a lee waiver form ii you dc not me your response on time. you may lose the case by defeult. and your wages. money. and property
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Ttrero are amer legal roqulrerncr\ic. You may want to cell an attorney rlght awey. ll you do not know an atlcrney. you may want lo all an attomey
referral service if you cannot alford an attorney. you may be ellglble for free legal servlcas from a nonproiit legal servst program. You can locate
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(mvw.oourthfo.oa.gow¥c”hslp). uf by contacting your local court or county bar association NDTE: The court has a statutory lion for waived fees and
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rwv.'w.lawheipoalll'omia.crg). err al Contro do Ayuda do las Cones de california ¢www.sucorte.oa.gov) o poniéndose an oontaoro con la oon’e o el
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The name end address of the court ls: cneenurm:m
(Elnombre y oireco'on de la cone es): Superior Court of Los Angeles County ‘"‘""°I°Q°’K 1 3 3 2 5 ;
111 Nori.h Hill St.

Los Angeles, CA 90012

The name, addreee, and telephone number of plaintist attcmey, or plalrrtiff without an attorney. ls:
(EI nombr'e. la direooldn y el numero de taléfarro del abogado del demandante, o del damandante quo no liens abogado, es).'

Todd M. Friedman, 324 S. Beverly Dr., #725, Bcvcrly Hills, CA 90212, 877~206~4741

 

 

 

 

 

 

ama stream n. cowen Clerk. by PAUL SO . Derwfy
(Fecha) (Seorai‘arlo) (A d]unto)
(For’proofof service of this summons. use Proof of Ser'vioe of Summons fFonn POS-Uw).) __

(Para pmeba de omega de asia citation use el formulan'o Pr'oof of Servioe of Summons, (FOS-O‘IO)).

NOT|CE TO THE PERSON SERVED: You are served

 

 

 

 

 

is”’~l 1. [:J as an individual derendam.
67 2. ij as the person sued under the fictitious name of (speclfy):
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[:"_] CCP 416.40 (associatlon or pannership) l:] CCP 416.90 (aulhorlzed person)
L::l other (spscify):
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Chrisiina Brace v. Financial Credxt Network, Inc.
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demanded demanded ls Fl|ed with first appearance by defendant mm
exceeds $25.000) $25.000 or loss) (Cal. Ruies of Court. rule 3.402) own
items 1-6 below must be oomp!eted (sae lnsmdl°ons on page 2).

 

 

1. Checit one box below for the case type that best describes this case:

 

Auto Tort Gontraot Provistonaily complex civil litigation
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uninsured motorist ¢46) l:] ama 3.740 mentions (09) E:i Amlmtmado reputation (03)
other PllPD!wo (Personni injuryll’ropeny [:i other collections (os) i:i construction detect no)
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'“b°“°= i°‘) ' i:.'.i other comer ran |:_l securities litigation (28)
Pwdwtllabllly (24) neal Propeny L:] snvlmnmenlelrroxi¢con¢ao}
M°‘”“' mmp'a°“°° (45) {:] Emi"e"i d°md"""m’ m insurance coverage claim arising from the
l:l o;her puPD/wn (23) condemle (14) above listed provisionally complex case
iron-leomo comm ron m W'°'@'“’ °"’°"°” ml mm m)
eustness woman business practice am i:] Oih¢f real property t26) Enl°r¢em¢nf of J"dsment
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other noonan/woman '~Ss_e“°"°"""= <°5> i:l rmersheanammwgwmm¢m
gm mm t::i million ms arbitration award (11) I:] mmr petition mmmmd show (43)
wrongful illustration {ao) l:] wm or mandate (02)
outer mploymem (15) [""I outer judicial review gsa)

 

 

2. T`nls case t:l is [Zl is not complex under rule 3.400 oi the Califomia Rules ot Court. if the case is oomplex, mark the
factors requiring exceptional judicial management:

a. i::] Large number ot separately represented parties ci. l:] Large number of witnesses

b. I:] Extensive motion practice raising clime or novel e. i::] Coordlnailon with related actions pending in one or more courts
issues that will be time~oonsuming to resolve in other counties states or eountrios. or ln a federal oourt

c. m Substantiai amount of documentary evidence t. [:.l Subsiamlal postjudgment judicial supervision

 

 

 

3. Romedies sought (chsck all that apply): a.[;/] monetary b.[z:] nonmonetary; declaratory or in unotive ro‘ c. Epunllive
4. Number of causes ot action (spsol.'y).' 3
5. Tnis case l:] is [§/:l is not a dasa action suit
6. if there are any known related mses, file and serve a notice of reiated oase. {You may us form
Date: September 22, 2014
Todd M. Friedma.n _ }

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NOUCE

   
 
 

~ Plalntllt must tile this cover sheet with the llrsl paper §led in the action or proceeding (exoept small claims cases or cases liled
under the Probato Code, Farnliy Code. or Weifare and institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to me may result
in sanctions

* ila this cover sheet in addition to any cover sheet required by local court rula.

¢ ifthls case is complex under rule 3.400 et seq. of the Caiitomle Rulae of Court. you must serve a copy of this cover sheet on all
other parties to the action or proceeding

» unless this is a collections case under rule 3.740 or a complex oasa. this cover sheet will be used for statistical purposes onl;'. 1 ou

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CM-O‘lll
!NSTRUCT!ONS ON HOW TO GOMPLETE THE CGVF..R SHEE`I
To Piaintift‘s and Others Fliing First Paper:. lt you are tillng a first paper (for example. a complaint) in a civil case, you must
complete and tile, along with your first paper. the Clvll Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers ot cases fried. \'ou must complete items t through 8 on the eheet. in item 1. you must check
one box for the case type that best describes the case. little case fits both a general and a more specific type ot use listed in item 1,
check the more speoilic one. it the case has multiple causes ot action, check the box that best indicates tire primary cause of action.
To assist you in completing the sheet. examples ot the cases that belong under each case type in item 1 are provided beiow. A cover
sheet must be tiled only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party.
its oounsei, or both to sanctions under rules 2.30 and 3.220 ot the calliomia Ru|es oi Court.
`i'o Partiee in Rule 3.740 Coi|ections Cases. A "ooilections case' under rule 3,740 le dehned as an action for recovery ot money
owed in a sum stated to be certain that ls not more then $25,000, exclusive of lnterest and attorneys fees, arising from a transaction in
which property, services, or money wes acquired on credit A collections ease does not include an action seeking the folloMng: ('l) tort
damages. (2) punitive damages (3) recovery ot real propeny, (4) recovery ct personal property. or (5) a prejudgment writ of
attachment The identification cf a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-eervice requh'ements and case management rules unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Farttes in Compiex Cases. in complex cases only. parties must also use the Cr'vii Case Cover Shest to designate whether the
ease is oompiex. if a plaintiff believes the case is wmplex under rule 3.400 ot the Caliiomie Rules ct Court. this must be indicated by
z completing the appropriate boxes in items ‘l end 2. if a plaintiff designates a case as complex, the cover sheet must be served with the
, complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
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ClV|L CASE COVER SHEET ADDENDUM AND
STATEMENT OF LOCATION
(CERTiFiCATE OF GROUNDS FOR ASS|GNMENT TO COURTHOUSE LOCATiON)

 

 

This form is required pursuant to Locat Ruie 2.0 in ali new civil case iiilngs in the Los Angeles Superior court

 

 

 

item l. Checlt the types ot hearing and fill in the estimated length of caring expected for this case:
.luRvaAi_r m YEs cuss Ac‘noN? ij yes LtMiTED cAsE? YEs TiME t-:sTtMATED FOR TRiA\. 24 i`_`i HoUiZi g&y§

item il, indicate the correct district and courthouse location (4 steps - if you checked "Limlted Case', skip to item ili, Pg. 4):

Step 1: After first completing the Civii Case Cover Sheet torm. lind the main Civii Case Cover Sheet heading for your
case in the left maer below, and. to the right in Coiumn A. the C|vil Case Cover Sheet case type you seiected.

Step 2: Check gn§ Superior Court type of action in Column B below which best describes the nature of this case.

Step 3: in Coiumn C, circle the reason for the court lomtlon choice that applies to the type of action you have
checked For any exception to the court location, see i_ocai Ruie 2.0.

VAppllcable Reasons for Choosing Courthouse Locatiou (see column c beiow) l

 

1. Ctass actions must be med in the Staniey Mosk Courthouse, central dlstrict. 6 Locetlon of whortopert%orer permanently garaged vehtcie.

2. May betii edln central (other county, or no bodily injury/property damage). 1. Location :
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4. Locatlon where bodily injury. death or damn aa occurred. 8. Location where one or more of rtiesro .
5. Loca tion where performance required ord endant resides 10 Location of Lahor Commissime

Step 4: Flll tn the information requested on page 4 in item lli; complete item iv. Sign the declaration

 

 

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Tort

Unlnsured Motortsl (48) iIl A?iio Pexsonat injurylProperty Damagefwmngtui Death - Uninsured Motodst i., 2.. 4.

Ei ASO'!D Ashe§tos Proparty Damage 2.

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LAsc Appmved 03-04 AND STATEMENT OF LOCATlON Page 1 am f _

 

 

 

 

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AND STATEMENT OF LOCAT|ON

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Chrisiina Brace v. Financiai Credii Networi<. lnc.

 

 

 

item lli. Statemoni of Location: Enter the address of the acoident. pariy's residence or place of business, performanoe, or other
drwmstance indicated in item il.. Step 3 on Page 1. as the proper reason for filing in the court iowtion you selected

 

 

 

munson
REASCN: Check tha appropriate boxes for the numbers shown 14540 ambank givd_ Apg 201
under column C for me type of action that you have selected for
this case.
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Shsnnan Oaks CA 9141 ‘i

 

 

 

 

 

item iV. Dsclamtion ofAss!gnmanr. i declare under penalty of perjury underma laws oi' the Staie of Caiiiomla that the foregoing is true
and correct and that the above»eniiiieci matter is properly filed for assignment to the Sta"’ey M°Sk oounhous in the
C€mra' Disirlci or me superior conn or carmrnia. county or Los Angeies foods c)v. Pmc

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oated: Sei>fember 22, 2014

 

(SlGNATUé 0$ ATTORNEY!F|UNG PARTY)
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PLEASE HAVE THE FDLLOW{NG lTEMS CCMPLETED AND READY TO BE FILED lN ORDER TO PRDPERLY
CGMMENCE YOUR NEW COURT CASE:

1. Original Complaint or Petiiion.

2. if filing a Compialnt. a completed Summons form for issuance by the Cleri<.
3. Civii Case Cover Stieei, Judiciai Council form cM-O10.

4

€§¥ 1C)e'is¢.=. Cover Sheet Addendum and Staiernent of Looation form, LACIV 109, LASC Approved 03»04 (Rev.

Paymeni in full of the filing fee, unless fees have been walved.

6. A signed order appointing the Guardian ad l.item, Judiciai Counoil form CiV~010, if the plaintiff or petitioner is a
minor under 18 years of age will be required by Court in order to issue a summons.

7. Additionai copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and oompiaini, or other initiating pleading in the case.

."‘

 

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Case 2:14-cv-09155-.]AK-AGR Document 1-1 Filed 11/26/14 Page 9 of 20 Page |D #:12

CONFQ
1 'rodd M. Friedman (216752) s?%;§,l,$§m%:£,_§gpy
2 vSuren N. Weerasuriya (278512) "”"Orw.dif‘,§,*;mh
Adrian R. Bacon (280332) 007- U 7 ?0"
3 Law Offices of 'I`odd M. Friedman, P.C. Shem_a . 14
» 324 s. Beverly nr. #725 §§ng Ex,cu,,.va cfr
4 Beverly Hills, CA 90212 ' aulso, 179qu leer/clerk

Phone: 877-206~4741

Fax: 866-633-0228

6 tfriedman@attorneysforconsumers.com
sweerasuriya@attomeysforconsumers.com
7 abacon@attorneysforconsumers.com
Attorneys for Plaintiff

SUPERIOR COURT OF THE STATE OF CALIFORNIA
10 FOR THE COUNTY OF LOS ANGELES
LIMITED JURISDICTION

C&S¢NO. 14K13325

COMI’LAINT FOR VIOLATION

OF ROSENTHAL FAIR DEBT
COLLECTION PRACTICES ACT,
FEDERAL FAIR DEBT COLLECTION
PRACTICES ACT, AND TELEPHONE
CONSUMER PROTECTION ACT

CHRISTINA BRACE,
15 Plaintii`f,
16 VS.

n FINANCIAL CREDIT NETWORK, INC., (Amount not to exceed $10,000)

1, Violation of Rosonthal Fair Debt
Colloction Praoticcs Act

2. Violation of Fair Debt Collection
Practices Act

3. Violation of Telephone Consumer
Protection Act

Defendant.

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I. INTRCDUCTION

24 l. This is an action for damages brought by an individual consumer for Defendant’s

25
violations of the Rosenthal Fair Debt Collection Practices Act, Cal Civ Code §1788, et seq.
26
27 (hereinai’tcr “RFDCPA”) and the Fair Debt Collection Practices Act, 15 U.S.C. §1692, et seq.

23 (heoeinaher “FDCPA”), both of which prohibit debt collectors from engaging in abusive,

Complcu`nt ~ i

 

 

 

 

 

 

Case 2:14-cv-09155-.]AK-AGR Document 1-1 Filed 11/26/14 Page 10 of 20 Page |D #:13

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deceptive, and unfair practices Ancillary to the claims abovc, Plaintiff further alleges claims
for Defendant’s violations of the Telephone Consumer Protcction Act., 47 U.S.C. §227, er seq.
(hereinafier “'I`CPA”).

II. PART!ES

2. Plaintifi`, Christina Bracc (“Plaintifi"’), is a natural person residing in Los
Angeles County in the state of California, and is a “consurner” as defined by the FDCPA, 15
U.S.C. §1692a(3) and is a “debtor” as defined by Cal Civ Code §1788.2(h). l

3. At all relevant times hercin, Defendant, Financial Crcdit thwork, lnc.
(“Dcfendant”) was a company engaged, by usc of the mails and telephone, in the business of
collecting a debt from Plaintiff which qualifies as a “debt,” as defined by 15 U.S.C. §1692a(5),
and a “consumer debt,” as defined by Cal Civ Code §1788.2(f). Defcndant regularly attempts
to collect debts alleged to be due another, and therefore is a “debt collector” as defined by the
FDCPA, 15 U.S.C. §16923(6), and RFDCPA, Cal Civ Code §1788.2(¢). Fut't.her, Dcfendant
uses an “automatic telephone dialing system” as defined by the TCPA, 47 U.S.C. §227.

III. FACTUAL ALLEGA'I`IONS

4. At various and multiple times prior to the filing of the instant complaint,
including within the one year preceding the filing of this complaint, Dofendant contacted
Plaintiff in an attempt to collect an alleged outstanding debt.

5. On or about January, 2014, Dcfcndant called Plaintifl` regarding an alleged debt.
Plaintifi` spoke to Defendant on at least one occasion and told Dcfendant to stop calling her on
her cell phone. However, Dcfenda.nt continued to call her on her cell phone despite her request

6. Defendant did not provide Plaintifi` with anything in writing regarding the

alleged dcbt, and failed to notify Plaintiff of her right to dispute the alleged debt.

Compiaint - 2

 

 

 

 

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l 7. Defendant continued to call Plaintiff on her cell phone, up to an including on
2 ~September 19, 2014. Plaintiff had not provided consent to receive such calls on her cell phone.
8. Defendant used an “automatic telephone dialing system”, as defined by 4 7

U.S. C. § 227(¢1)(1), to place its repeated collection calls to Plaintiff seeking to collect the debt

6 allegedly owed.

7 9. Dct'endant’s calls constituted calls that were not for emergency purposes as
8 cleaned by 47 U.s.c. § 227(1»,)(1)(,4).
9 lO. Defendant’s calls were placed to telephone number assigned to a cellular

I° telephone service for which Plaintiff` incur a charge for incoming calls pursuant to 47 U.SC.

“ §227(71)( 1).

‘2 11. All voice messages made by Defendant to Plaintifi`s utilized an “artificial or
13 prerecorded voice” as defined by 47 U.S.C. § 227(b)(])(A).
‘4 12. Defendant`s conduct violated the FDCPA and the RFDCPA in multiple ways,

including but not limited to:
17 a) Engaging in conduct the natural consequence of which is to
harass, oppress, or abuse Plaintit`f (§1692d));

19 b) Causing a telephone to ring repeatedly or continuously to annoy
Plaintiff (Cal Civ Code §1788.1 l(d));

21 c) Communicating, by telephone-or in perscn, with Plaintiff with
such frequency as to be unreasonable and to constitute an

22 harassment to Plaintiff under the circumstances (Cal Civ Code
§1788.11(e));

23

24 d) Causing Plaintiff telephone to ring repeatedly or continuously
with intent to harass, annoy or abuse Plaintiff (§1692d(5));

25

26 e) Cornrnunicating with Plaintiff at times or places which were
known or should have been known to be inconvenient for

27 Plaintift` (§1692c(a)(1)); and

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Complaint - 3

 

 

 

 

 

 

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l t) Failing to provide Plaintiff with the notices required by 15 USC
§1692g, either in the initial communication with Plaintiff, or in
2 writing within 5 days nemor(§img(a)).

13. Defendant’s conduct violated the TCPA by:

 

6 a) using any automatic telephone dialing system or an artificial or pre-
recorded voice to any telephone number assigned to a paging service,
7 cellular telephone service, specialized mobile radio service, or other
8 radio common cam’er service, or any service for which the called party is
charged for the call (47 USC §227(b)(A)(iii)).
9 _
‘° 14. As a result of the above violations of the FDCPA, RFDCPA, and TCPA,
ii
Plaintiff suffered and continues to suffer injury to Plaintiff’s feelings, personal humiliation,
12
13 embarrassment, mental anguish and emotional distress, and Defendant is liable to Plaintiff for
14 Plaintiff’s actual damages, statutory damages, and costs and attorney’s fees.
15 COUNT I: VIOLATION OF ROSENTHAL
16 FAIR DEBT COLLECTION PRACTICES ACT
17 15. Plaintiff reincorporates by reference all of the preceding paragraphs
13 l6. To the extent that Defendant’s actions, counted above, violated the R.FDCPA,
w those actions were done knowingly and willfully.
20
PRAYER FOR RELIEF
21
22 WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant

13 for the following:

24 A. Actual damages;

25 B Statutory damages for willful and negligent violations;

26 C. Costs and reasonable attorney’s fees,

27 D For such other and further relief as may be just and proper.
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Complaint ~ 4

 

 

 

 

 

 

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COUNT II: VIOLATION OF FAIR DEBT
COLLECTION PRACTICES ACT

17. Plaintiff reincorporates by reference all of the preceding paragraphs
l PRAYER FoR RELIEF
Wl-IEREFOR.E, Plaintiff respectfully prays that judgment be entered against Defendant

for the following:

A. Actual damages;

B Statutory damages;

C. Costs and reasonable attomey’s fees; and,
D

For such other and further relief as may be just and proper.

COUNT III: VIOLATION OF TELEPHONE CONSUMER
PROTECTION ACT

18. Plaintiff incorporates by reference all of the preceding paragraphs

 

19. 'l'he foregoing acts and omissions of Dcfendant constitute numerous and
multiple negligent violations of the TCPA, including but not limited to each and every one of
the above cited provisions of 47 U.S. C. § 227 et seq.

20. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
Plaintiff is entitled an award of $500.00 in statutory damages, for each and every violation,
pursuant to 47 U.S.c. § 227@)(3)(3).

21. The foregoing acts and omissions of Defendant constitute numerous and
multiple knowing and/or willful violations of the TCPA, including but not limited to each and
every one of the above cited provisions of 47 U.S.C. § 227 et seq.

22. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227
et seq., Plaintiif is entitled an award of $1,500.00 in statutory damages, for each and every
violation, pursuant to 47 U.S.C. § 227(1))(3)(15’) and 47 U.S.C. § 227(b)(3)(C).

23. Plaintiff is entitled to and seek injunctive relief prohibiting such conduct in the

future.

Complaint - 5

Page |D #:16

 

 

 

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'¢ )
1 . PRAYER FOR RELIEF
2 WHEREFORE, Plaintifl` respectfully prays that judgment be entered against the
3 .
Defendant for the following:
4
5 A. As a result of Defendant’s negligent violations of 47 U.S.C. §227(b)(1),
Plaintiii` is entitled to and requests $500 in statutory damages, for each
5 and every violation, pursuant to 47 U.S. C. 22 7(b) (3) (B);
7 B. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C.
, 8 §227(1))(1), Plaintiii` is entitled to and requests treble damages, as
provided by statute, up to $1,500, for each and every violation, pursuant
9 to 47 U.S.C. §227(1))(3)(8) and 47 U.S.C. §227(?))(3)(€); and
l° C. Any and all other relief that the Court deems just and proper.
lt
12 PLAINTIFF HEREBY REQUE§TS A TRIAL BY JURY 4
13 »
Respectfuuy submitted this 22nd day . .er, 2014.
14 ,,.
By:
15
. sw , sq.
15 Law Offi ~ - ` odd M. Friedman, P.C.
Attorney for Plaintiff
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Complaint - 6

 

 

 

 

 

 

Case 2:14-cv-09155-.]AK-AGR Document 1-1 Filed 11/26/14 Page 15 of 20 Page |D #:18

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SUPERIOR COURT OF THE STATE OF CALIFORNIA

FOR THE COUNTY OF LOS ANGELES

lnreLosAngelesSuperiorCourtCasesGeneral) CaseNo.: 14 Kls 3 25
Order- Limited Jurisdiction (Non»Collections) )

cases GENERAL `oRoER

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)
TO EACH PARTY A_ND TO THE A'I"I`ORNEY OF R.ECCRD FOR. EACH PARTY:
Pursuant to the California Code of Civil Pxocedure, the California R,ules of Court, and the
Los Angeles County Court Rnles, the COURT HEREBY GENERALLY OR.DERS AS
FOLLOWS IN THIS AC'I'ION:

1. I‘LAINTIFFIS ISIARE ORDERED TO SERVE A COPY OF THIS
GENERAL ORDER ON THE DEFENDANT/S WITH COPIES OF THE SUMMONS
AND COMPLAINT AND TO FILE PROOF OF SERVICE, AS MANDATED IN THIS
oRDER. (cod¢ civ. Pm., § 594, subd. (b).)

2. The Court sets the following trial date in this owe in Depment 77 at the
Stanley Mosk Comthouse, 111 North Hill Street, Los Angeles, CA 90012:

line nw 071 2015 ransom 071 2616 osc= 101- 10/ m

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0 Dlte: at 8:30 m.

 

 

 

 

snnvrcn or sumnensmo comm v
3. meandmsetformawv¢ismdmoneaonra¢def¢ndmvsb¢ingmmd
with the simmons and complaint within six (6) months of the filing of the complaint The

 

 

GENERALORDER-l

 

 

 

Case 2:14-cv-09155-.]AK-AGR Document 1-1 Filed 11/26/14 Page 16 of 20 Page |D #:19

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trial date will be continued to a later date if service is not accomplished within six (6)
months. The parties may stipulate to keep the original trial date even if service of the
summons and complaint is not completed within six (6) months of the filing of the original
complaint v _

4. The summons and complaint shall be served upon the defendant/s within three
f§)_ye_ai_:_s_ after the complaint is filed in this action (Code Civ. Proc., § 583.210, subd. (a).)
Failure to comply will result in dismissal, without prejudice, of the action, as to all unserved
parties who have not been dismissed as of that date. (Code Civ. Proo., § 581, subd. (b)(4).).

The dismissal as to the unserved parties, without prejudice, for this case shall be eH"eetive on
the following date:

 

UNSERVED PARTIES DISMISSAL DATE

 

 

 

 

5. No Case Management Review (CMR) will be conducted in this case.
LAW AND MOTION
6. All regularly noticed pre-trial motions will be heard in Department 77 on
Mondays, Tuesdays, Wednesdays, and Thnrsdays at 8:30 a.m. Motions will require parties
to reserve shearing date by calling (213) 974»6247. All motions should be filed in Room
102 ortho stanley Mosi¢ someone
7. Tentative rulings may be posted on the Court‘s internat site at

http://www.lasupeg'orcomt.org/_tegtiveruligg the day prior to the hearing.

GENERAL ORDER - 2

 

 

 

 

 

Case 2:14-cv-09155-.]AK-AGR Document 1-1 Filed 11/26/14 Page 17 of 20 Page |D #:20

1 EX PARTE APPLICATIONS
1 8. Ex parte applications should be noticed for 1:30 p.m. in Deparnnent 77. All
applications must be filed by 1:00 p.m. in Room 102 of the Stanley Mosk Courthouse.

JURY FEES n
9. The fee shall be due no later than 365 calendar days after the filing of the
7 initial complaint (Code Civ. Proc., § 631, subds. (b) and (c).) 1
8 ' _ STIPUIATION TO CONTINUE TRIAL

9 lO. A trial will be poswoned if all attorneys of record and/or the parties who have
10

appeared in the action stipulate in writing to a specific continued date. Ifthe Stipulation is
n

12 filed less than five (5) court days before the scheduled trial date, then a courtesy copy of the
13 stipulation must be filed in Department 77. The stipulation and order should be filed in

14 aoom 102 ortho stantoy`Mosk commouso with mo ooquirod wing room (codo civ. noo., §

" 595.2 md novo code § 70617, subd (o)(z).)

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TRIAL
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m ll. Partiesaretoappearonthetrialdatereadytogototrial,andmustmeetand
19 conferonallpret:ialmattersatleasthcalendaxdaysbeforethen'ialdate. Onthedayof
trialthe Parties shall bring with them to Departrnent 77 all of the following:

m i. Joint Statement of the Case;

:: ii. Motioosionmioe, whioh narrowed and alodiooooordoooo tamm
24 Local miles of the Los Angeles Superior Court ( LASC), _sg local rule 3.5’7;
n _ in Joim wiwmordisolosiog mo wimossos who winoooonodwhouhoy win
25 testify to, and how long their testimony will take;

27 iv. Joinr taxable in mailbooks, mmborod appropriately, examination
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GENERAL ORDER - 3

 

 

 

 

 

Case 2:14-cv-09155-.]AK-AGR Document 1-1 Filed 11/26/14 Page 18 of 20 Page |D #:21

l v. loint Prcposed Iury lnstructions printed out for the court and

2 vi. Joint Proposed Verdiet form(s) printed out for the court

3 12. FAILURE TO COMPLY WITH ANY REQUIREMENT SET FORTH
IN PARAGRAPH 11 ABOVE MA.Y RESULT IN SANC'I'IONS OR THE VACATING
or 'rns TRIAL nATE. (i.os Aog¢loo superior com Loool nolo 337.)

3 GOOD CAUSB APPEARING THEREFORE, IT IS SO ORDERED.

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n DATE: March 13, 2013
13 . Hon. Stephanie Bowick
Judge ofthe Superior Court
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Case. 2:14-cv-09155-.]AK-AGR Document 1-1 Filed 11/26/14 Page 19 of 20 Page |D #:22

1 PROOF OF SERVICE

 

STATE OF CALIFORNIA )
3 COUNTY OF LOS ANGELES § SS
4
5 l am employed in the County of Los Angcles, Statc of California.
6 l am over the age of eighteen years and not a party to the within action. My business

address is 5959 W. Ccntury Blvd., Suitc 1214, Los Angclcs, California 90045.

On November 26, 2014, l Scrved the foregoing document(S) described asc NOTICE
8 OF REMOVAL on all interested parties in this action as follows:

9 SEE ATTACHED SERVICE LIST

19 [X] BY MAIL: I Scalcd such cnvclopc(s) and placed it (thcm) for collection and mailing
on this date following the ordinary business practices of Carlson & Messcr LLP. l am

11 readily familiar with the business practices of Carlson & Mcsser LLP for collection
and processing of correspondence for mailing with thc Unitcd Statcs Postal Service.
12 Such correspondence would be deposited with the Unitcd Statcs Postal Servicc at Los

Angeles, California this same day in the ordinary course of business with postage
13 thereon fully prcpaid.

14 [ ] BY ELECTRONIC MAIL: Bascd on Court order or an agreement of thc parties to
accept service by c-mail or electronic transmission, l caused the said documents to bc

15 sent to the persons at the electronic mail addresses listed below (Scc attached service
list). I did not receive within a reasonable time after thc transmission, any electronic
16 message or other indication that the transmission was unsuccessful.

17 [ ] BY OVERNIGHT DELIVERY: l deposited the above document(S) in a box or other
facility regularly maintained by chEX in an envelope or package designated by FedEX
18 with delivery fees paid or provided for.

19 [ ] PERS()NAL SERVICE BY HAND: I personally served document to address Statcd

on POS Scrvice List.
20

[ ] BY FACSIMILE: l transmitted via telecopicr machine such document to the
21 interested parties at the facsimile numbcr(S) listed on the attached Servicc list.

22 [ ] (STATE): l declare under penalty of perjury under the laws ofthc Statc of California
that thc above is true and correct.

 

23
[X] (FEDERAL): l declare that l am employed in the office of a member of the bar ofthis
24 court at whose direction the service was madc.
25 Exccutcd this 26th day of November, 2014, at Los Angclcs,ZFornia.
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Brace, Christz`na v. Fz'nancial Crea’z'r Nel’work, ]nc.

File No. 07969.00

Todd M. Friedman

Suren N. Weerasuriya

Adrian R. Bacon

LAW OFFICES OF TODD M. FRlEDl\/IAN, P.C.
324 S. Beverly Drive, Suite 725

Beverly Hills, CA 90212

Tel: (877) 206-4741

Cell: (310) 429-9293

Fax: (866) 633-0228

Email: tfriedman@attorneysforconsumers.corn
Email: sweerasuriva@attorneysforconsumers.com

Email: abacon@attornevsforconsumers.corn

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Attorneys for Plaintiff
CHRISTINA BRACE

 

